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  8 DONGGUAN XIANGHUO TRADING CO., LTD.

  9

 10                               UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11
    DBEST PRODUCTS, INC., a                           CASE NO. 2:25−cv−04573−MWC−JC
 12 California corporation,
                                                      DEFENDANT’S ANSWER TO
 13                  Plaintiff,                       PLAINTIFF’S COMPLAINT,
                                                      AFFIRMATIVE DEFENSES, AND
      vs.                                             COUNTERCLAIMS
 14
                                                      DEMAND FOR JURY TRIAL
    DONGGUAN XIANGHUO TRADING
 15 CO., LTD., a Chinese company,

 16                   Defendant.

 17

 18

 19

 20

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      AND COUNTERCLAIMS                                                 (650) 613-9737
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  1                                      GENERAL DENIAL

  2
                  Defendant Dongguan Xianghuo Trading Co., Ltd. (“Xianghuo”) denies each
  3
      and every allegation contained in Plaintiff dbest products, Inc.’s Complaint, except
  4
      as expressly admitted herein. In response to the allegations in the Complaint,
  5
      Xianghuo answers based on its own knowledge as to its own conduct and on
  6
      information and belief as to all other matters, and alleges as follows:
  7
                                               ANSWER
  8

  9                                   NATURE OF THE CASE
 10                      1. dbest products, Inc. (“dbest”) brings this action against
                  Dongguan Xianghuo Trading Co., Ltd. (“Defendant”) for direct
 11               infringement under the patent laws of the United States, 35 U.S.C.
                  § 271.
 12
      ANSWER: To the extent Paragraph 1 purports to assert legal conclusions, no
 13
      response is required. To the extent a response is required, Xianghuo denies that it
 14
      has infringed any valid and enforceable claim of any patent, including under 35
 15
      U.S.C. § 271
 16
                                            THE PARTIES
 17

 18
                        2. dbest is a California corporation with its principal place
 19               of business at 16506 South Avalon Boulevard, Carson, California.

      ANSWER: Xianghuo lacks knowledge or information sufficient to form a belief as
 20

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  1 to the truth of the allegations in Paragraph 2 and therefore denies the same.

  2                    3. On information and belief, Defendant is a Chinese
                  company with its principal place of business at No. 22 Zhenhua
  3               Road, Room 403, Humen District, Humen Town, Dongguan,
                  Guangdong, China.
  4
      ANSWER: Admitted
  5
                                    JURISDICTION AND VENUE
  6
                        4. This Court has subject matter jurisdiction over the
                  claims in this complaint under 28 U.S.C. §§ 1331 and 1338(a).
  7
      ANSWER: To the extent Paragraph 4 asserts legal conclusions, no response is
  8
      required. To the extent a response is required, Xianghuo does not contest that this
  9
      Court has subject matter jurisdiction over claims arising under the patent laws of the
 10
      United States.
 11
                         5. This Court has personal jurisdiction over Defendant
 12
                  because, on information and belief, it has consented to jurisdiction
                  by suing dbest in this judicial district in California and also does
 13
                  substantial business in this judicial district, including committing
                  the acts of patent infringement described below.
 14

 15 ANSWER: Xianghuo does not contest personal jurisdiction in this District for

 16 purposes of this action, but denies the remaining allegations in Paragraph 5,

 17 including that it has committed any act of patent infringement or conducts

 18 substantial business in this District.

 19                     6. Venue is proper in this Court pursuant to 28 U.S.C. §
                  1391 because, on information and belief, Defendant is subject to
 20               personal jurisdiction in this district.


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  1 ANSWER: Admitted.

  2                                  FACTUAL BACKGROUND
                         7. dbest is a leading innovator and seller of portable carts
  3
                  in the United States. dbest has developed, marketed and sold
                  exclusively a highly successful product line of premium portable
  4
                  carts frequently featured on QVC, Inc.’s television infomercials
  5               and website. dbest also sells its carts on retail website platforms
                  such as Amazon, through national retailers such as Lowe ’s and
  6               Home Depot, and on its own website.

  7 ANSWER: Xianghuo denies the allegations set forth in Paragraph 7. Plaintiff is not

  8 a leading innovator, but rather a copycat that has filed patent applications

  9 appropriating prior art long disclosed in the public domain, including in jurisdictions

 10 such as China and the United States. Defendant lacks knowledge or information

 11 sufficient to form a belief as to the truth of the remaining allegations in Paragraph 7

 12 and therefore denies them.

 13                     8. dbest owns all rights, title, and interest in and to U.S.
                  Patent No. 12,275,446 ( “ the ’ 446 Patent ” ), issued April 15,
 14               2025, entitled “High Load Capacity Collapsible Carts.” A true
                  and correct copy of the ’446 Patent is attached as Exhibit A.
 15

 16 ANSWER: Xianghuo admits that, on its face, U.S. Patent No. 12,275,446 ( “the ’

 17 446 Patent”) is titled “High Load Capacity Collapsible Carts” and states that it was

 18 issued on April 15, 2025. Xianghuo also admits that what purports to be a copy of

 19 the ’446 Patent is attached as Exhibit A. Xianghuo denies the remaining allegations

 20 in Paragraph 8, including that dbest owns all rights, title, and interest in the ’ 446

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  1 Patent

  2                      9. dbest owns all rights, title, and interest in and to U.S.
                  Patent No. 12,304,546 (“the ’546 Patent”), issued May 20, 2025,
  3               entitled “Collapsible Carts.” A true and correct copy of the ’546
                  Patent is attached as Exhibit B.
  4
      ANSWER: Xianghuo admits that, on its face, U.S. Patent No. 12,304,546 ( “the ’
  5
      546 Patent”) is titled “Collapsible Carts” and states that it was issued on May 20,
  6
      2025. Xianghuo also admits that what purports to be a copy of the ’ 546 Patent is
  7
      attached as Exhibit B. Xianghuo denies the remaining allegations in Paragraph 9,
  8
      including that dbest owns all rights, title, and interest in the ’546 Patent.
  9
                         10. It is dbest ’ s policy and practice to mark its carts
 10
                  protected by one or more of its patents with the patent number(s) to
                  provide notice to the public that the product is protected by a U.S.
 11
                  patent. Since the ’ 446 Patent issued, dbest has complied with its
                  marking policy to give notice to the public that specific dbest
 12
                  products are protected by the ’446 Patent. Similarly, since the ’546
                  Patent issued, dbest has complied with its marking policy to give
 13
                  notice to the public that specific dbest products are protected by
                  the ’546 Patent.
 14

 15 ANSWER: Xianghuo lacks knowledge or information sufficient to form a belief as

 16 to the truth of the allegations in Paragraph 10 and therefore denies the same.

 17                     11. On information and belief, Defendant sells products on
                  Amazon.com (“Amazon”) to consumers living in the United States
 18               and in this judicial district.

 19 ANSWER: Admitted.

 20
                        12.   dbest regularly monitors retail platforms, including
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  1               Amazon, to identify offers for sale and sales of products that
                  infringe its patents and other intellectual property rights.
  2
      ANSWER: Xianghuo lacks knowledge or information sufficient to form a belief as
  3
      to the truth of the allegations in Paragraph 12 and therefore denies the same.
  4

  5                      13. Recently, dbest identified numerous products (the
                  “Accused Products”) sold by Defendant on Amazon that infringe
  6               its ’446 Patent and the ’546 Patent. A schedule of the Amazon
                  Standard Identification Number (“ASIN”) for each Accused
  7               Product of which dbest is currently aware is attached as Exhibit C.

  8
      ANSWER: Xianghuo admits that Exhibit C purports to list Amazon Standard
  9
      Identification Numbers (“ASINs”) for products that dbest alleges infringe the ’446
 10
      and ’546 Patents. Xianghuo denies each and every remaining allegation in Paragraph
 11
      13, including that any of its products infringe any valid and enforceable claim of
 12
      the ’446 Patent or the ’546 Patent.
 13                                              COUNT I
 14                  (Patent Infringement of the ’446 Patent – 35 U.S.C. §§ 271)
                        14. The foregoing paragraphs are                incorporated        by
 15
                  reference as if fully set forth in this paragraph.
 16
      ANSWER: Xianghuo incorporates by reference its responses to the preceding
 17
      paragraphs as if fully set forth herein.
 18
                         15. Defendant has been and continues to directly infringe
 19               the ’ 446 Patent by offering for sale, selling, and/or otherwise
                  distributing the Accused Products in violation of 35 U.S.C. § 271.
 20               A representative claim chart demonstrating how the Accused
                  Product satisfies each limitation of at least one claim of the ’446
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  1               Patent is attached as Exhibit D.

  2
      ANSWER: Xianghuo admits that Exhibit D purports to be a claim chart alleging
  3
      how certain products satisfy at least one claim of the ’446 Patent. Xianghuo denies
  4
      each and every remaining allegation in Paragraph 15, including that it has infringed
  5
      or is infringing any valid and enforceable claim of the ’446 Patent.
  6
                        16. Defendant’s infringement has injured and continues to
                  injure dbest, which is entitled to recover damages adequate to
  7
                  compensate it for Defendant’s infringement.
  8
      ANSWER: Xianghuo denies the allegations in Paragraph 16, including that it has
  9
      committed any infringement or that dbest is entitled to any damages.
 10
                        17. dbest will continue to suffer irreparable injury unless
 11
                  and until Defendant Amazon is enjoined by this Court.
 12
      ANSWER: Xianghuo denies the allegations in Paragraph 17, including that dbest
 13
      has suffered or will suffer irreparable injury, and denies that any injunctive relief is
 14
      warranted. Xianghuo further notes that it is not Amazon, and therefore denies any
 15
      allegations directed to “Defendant Amazon.”
 16
                        18. dbest is entitled to injunctive and compensatory relief,
 17
                  including attorneys’ fees and costs.
 18
      ANSWER: Xianghuo denies the allegations in Paragraph 18, including that dbest is
 19
      entitled to any injunctive relief, compensatory damages, attorneys’ fees, or costs.
 20

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  1                                             COUNT II
                     (Patent Infringement of the ’546 Patent – 35 U.S.C. §§ 271)
  2
                        19. The foregoing paragraphs are                incorporated        by
  3               reference as if fully set forth in this paragraph.

  4
      ANSWER: Xianghuo incorporates by reference its responses to the preceding
  5
      paragraphs as if fully set forth herein.
  6
                         20. Defendant has been and continues to directly infringe
                  the ’ 546 Patent by offering for sale, selling, and/or otherwise
  7
                  distributing the Accused Products in violation of 35 U.S.C. § 271.
                  A representative claim chart demonstrating how the Accused
  8
                  Product satisfies each limitation of at least one claim of the ’ 546
                  Patent is attached as Exhibit E.
  9

 10 ANSWER: Xianghuo admits that Exhibit E purports to be a claim chart alleging

 11 how certain products satisfy at least one claim of the ’546 Patent. Xianghuo denies

 12 each and every remaining allegation in Paragraph 20, including that it has infringed

 13 or is infringing any valid and enforceable claim of the ’546 Patent.

 14                     21. Defendant’s infringement has injured and continues to
                  injure dbest, which is entitled to recover damages adequate to
 15               compensate it for Defendant’s infringement.

 16
      ANSWER: Denied.
 17
                        22. dbest will continue to suffer irreparable injury unless
                  and until Defendant Amazon is enjoined by this Court.
 18

 19 ANSWER: Xianghuo denies the allegations in Paragraph 22, including that dbest

 20 has suffered or will suffer irreparable injury, and denies that any injunctive relief is

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  1 warranted. Xianghuo further notes that it is not Amazon, and therefore denies any

  2 allegations directed to “Defendant Amazon.”

  3                     23. dbest is entitled to injunctive and compensatory relief,
                  including attorneys’ fees and costs.
  4
      ANSWER: Denied.
  5
                                        PRAYER FOR RELIEF
  6
                  WHEREFORE, dbest asks the Court to enter judgment in its favor
  7
                  and against Defendant and grant the following relief:
  8
                  A. A determination that Defendant has infringed the ’446 Patent
                  and the ’546 Patent;
  9
                  B. An injunction permanently enjoining Defendant, and its
                  officers, agents, employees, and all others in active concert or
 10
                  participation with it, or any of them, from doing any acts that
                  infringe the ’446 Patent and/or the ’546 Patent;
 11
                  C. An award of damages in an amount adequate to compensate
                  dbest for Defendant’s infringement of the ’446 Patent and the ’546
 12
                  Patent;
                  D. Enter a judgment and order that Defendant and/or Amazon
 13
                  take all steps necessary to deliver to dbest all remaining inventory
                  of all Accused Products in its possession, custody or control;
 14
                  E. Enter a judgment and order requiring Defendant to file with
                  the Court and serve on dbest a written report under oath setting
 15
                  forth in detail its compliance with the injunction within thirty days;
                  and
 16
                  F. Any further relief that this Court deems just and proper.
 17
      Answer: Xianghuo denies that dbest is entitled to any of the stated or other relief.
 18
      Xianghuo denies any other allegations in this paragraph.
 19
                                     AFFIRMATIVE DEFENSES

 20

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   1               In response to dbest ’ s Complaint and without waiving any prior responses,

   2 Xianghuo alleges the following affirmative defenses based on information and belief.

   3 Xianghuo also reserves the right to assert additional defenses that may arise during

   4 discovery or become known through further investigation.

   5                      FIRST DEFENSE – NO PATENT INFRINGEMENT

   6               1.    Xianghuo’s Accused Products do not infringe, and have never infringed,

   7 either literally or under the doctrine of equivalents, any valid and enforceable claim

   8 of the ’446 Patent or the ’ 546 Patent. Xianghuo is not liable for any infringement

   9 under any theory.

  10               SECOND DEFENSE – NO WILLFUL PATENT INFRINGEMENT

  11               2.    Xianghuo’s Accused Products do not willfully infringe and have never

  12 willfully infringed, directly or indirectly, either literally or under the doctrine of

  13 equivalents, any valid and enforceable claim of the ’ 446 Patent and/or the ’ 546

  14 Patent

  15               3.    Xianghuo is not liable for willful infringement of any valid and

  16 enforceable claim of the ’446 Patent and/or the ’546 Patent.

  17                          THIRD DEFENSE – PATENT INVALIDITY AND

  18                                    UNENFORCEABILITY

  19

  20

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   1               4.    The claims of the ’446 Patent and/or the ’546 Patent are invalid under

   2 35 U.S.C. § 102 because they lack novelty and are anticipated, taught, or suggested

   3 by prior art.

   4               5.    The claims of the ’446 Patent and/or the ’546 Patent are invalid under

   5 35 U.S.C. § 103 because they would have been obvious in light of the prior art at the

   6 time of their effective filing dates.

   7               6.    The claims of the ’ 446 Patent and/or the ’ 546 Patent are invalid for

   8 failure to meet the requirements of 35 U.S.C. § 112, including lack of written

   9 description, lack of enablement, and indefiniteness.

  10               7.    The claims of the ’446 Patent and/or the ’546 Patent are unenforceable

  11 due to inequitable conduct committed during prosecution before the United States

  12 Patent and Trademark Office, including the intentional omission to disclose material

  13 prior art and/or the submission of materially misrepresentation with the intent to

  14 deceive the Patent Office.

  15                    FOURTH DEFENSE – LIMITATION ON PATENT DAMAGES

  16               8.    Dbest ’ s claim for damages, if any, against Xianghuo for the alleged

  17 infringement of the ’446 Patent and/or the ’546 Patent is limited by 35 U.S.C. §§

  18 286, 287, and/or 288.

  19

  20

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   1               9.     With respect to the marking requirement under 35 U.S.C. § 287, dbest

   2 failed to properly mark its allegedly patented articles with the relevant patent

   3 numbers.

   4                      FIFTH DEFENSE – FAILURE TO STATE A CLAIM

   5               10.     Dbest ’ s Complaint fails to state a claim upon which relief can be

   6 granted. Specifically, dbest has not met the pleading standard required by the U.S.

   7 Supreme Court in Ashcroft v. Iqbal, 556 U.S. 662 (2009), and Bell Atlantic Corp. v.

   8 Twombly, 550 U.S. 544 (2007). dbest’s allegations lack sufficient factual matter to

   9 state a plausible claim for relief, as required under Federal Rule of Civil Procedure

  10 8(a).

  11                    SIXTH DEFENSE – PROSECUTION HISTORY ESTOPPEL

  12               11.     Dbest is barred, under the doctrine of prosecution history estoppel,

  13 from construing the claims of the ’446 Patent and/or the ’546 Patent in a manner that

  14 covers any of Xianghuo’s Accused Products. This estoppel arises from statements,

  15 amendments, and representations made by dbest to the United States Patent and

  16 Trademark Office (USPTO) during the prosecution of the applications that led to the

  17 issuance of the ’446 Patent and/or the ’546 Patent.

  18                     SEVENTH DEFENSE – NOT AN EXCEPTIONAL CASE

  19

  20

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   1               12.     If dbest is entitled to any remedy, it is not entitled to a finding that

   2 this case is exceptional under 35 U.S.C. § 285, the Court’s inherent authority, or any

   3 other basis, and therefore not entitled to an award of attorneys’ fees or costs.

   4                          EIGHTH DEFENSE – LACK OF STANDING

   5               13.     Dbest lacks standing to assert claims for infringement of the ’ 446

   6 and/or the ’546 Patents under Article III and/or 35 U.S.C. § 281 because it does not

   7 possess the exclusionary rights necessary to maintain this action.

   8                        RESERVATION OF ADDITIONAL DEFENSES

   9               14.     Xianghuo reserves the right to assert any additional defenses or

  10 counterclaims that may become available based on discovery or further factual

  11 investigation in this case.

  12                COUNTERCLAIMS BY DEFENDANT/COUNTERCLAIMANT

  13               Defendant/Counterclaimant      Dongguan     Xianghuo         Trading       Co.,     Ltd.

  14 (“Xianghuo”) incorporates herein by reference the admissions, allegations, denials,

  15 and defenses contained in its Answer above as if fully set forth herein. For its

  16 Counterclaims against Plaintiff dbest products, Inc. (“dbest”), and upon information

  17 and belief, Xianghuo alleges as follows:

  18                                   NATURE OF THE ACTION

  19               1.    This action arises under the Declaratory Judgment Act, 28 U.S.C. §

  20 2201 et seq., and the United States Patent Act, 35 U.S.C. § 1 et seq. Xianghuo seeks

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   1 declaratory judgments that U.S. Patent Nos. 12,275,446 (“the ’446 Patent”) and

   2 12,304,546 (“the ’546 Patent”) (collectively, the “Patents-in-Suit”) are not infringed

   3 by Xianghuo’s storage bin products (“Non-Infringing Products”). True and correct

   4 copies of the ’446 and the ’546 Patents are attached hereto as Exhibit 1 and Exhibit

   5 2.

   6               2.   Xianghuo brings this action in view of the actual controversy created

   7 by dbest under the ’446 and ’546 Patents.

   8               3.   Upon information and belief, dbest submitted multiple baseless patent

   9 infringement complaints to Amazon in bad faith and through egregious misuse of

  10 Amazon’s enforcement procedures, resulting in the removal of Xianghuo’s listings

  11 for its Non-Infringing Products from Amazon.com.

  12               4.   This action further arises under the laws of the state of California.

  13 Xianghuo seeks an order remedying dbest’s tortious interference and unfair

  14 competition.

  15                                        THE PARTIES

  16               5.   Dongguan Xianghuo Trading Co., Ltd. is a Chinese company, with a

  17 principal place of business at Room 403, No.22, Zhenhua Road, Humen District,

  18 Humen Town, Dongguan, Guangdong, China.

  19               6.   Xianghuo is a leader in the storage boxes categories. Since entering the

  20 U.S. market in December 2022, Xianghuo has become a top-performing brand in

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   1 Amazon’s “Storage Boxes” category.

   2               7.    Several of Xianghuo ’ s storage boxes have earned the “ Amazon ’ s

   3 Choice ” and “ #1 Best Seller ” badges and have accumulated over 5,000 verified

   4 customer reviews with average ratings exceeding four stars.

   5               8.    The resounding marketplace success of Xianghuo’s storage boxes is no

   6 accident — U.S. consumers have responded to their combination of practicality,

   7 quality, and affordability.

   8               9.    Upon information and belief, dbest Products, Inc. is a corporation

   9 organized under California law with its principal place of business at 16506 South

  10 Avalon Boulevard, Carson, CA 90746, USA.

  11               10.    Dbest is a copycat that has filed patent applications misappropriating

  12 prior art long disclosed in the public domain, including in jurisdictions such as

  13 China and the United States.

  14               11.    Dbest has engaged in bad-faith abuse of Amazon’s intellectual

  15 property enforcement system to suppress lawful competition and to coerce unfair

  16 settlements by unlawfully causing the delisting of competitors’ products.

  17               12.    By submitting baseless complaints through Amazon’s internal

  18 enforcement procedures based on invalid patents, dbest has established a pattern of

  19 tortious interference with the business relationships of legitimate sellers on the

  20 platform.

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   1               13.   In one such instance, on or about December 5, 2024, dbest submitted

   2 an infringement complaint against another seller’s shoe box product, which resulted

   3 in the removal of that seller ’ s listings from Amazon.com. In response, the seller

   4 filed a declaratory judgment action asserting that the asserted U.S. Patent No.

   5 12,103,576 was procured through inequitable conduct, and seeking, on that basis, a

   6 judgment of non-infringement, invalidity, and other appropriate relief. On January

   7 23, 2025, rather than defend the merits of its claim, dbest issued a covenant not to

   8 sue to evade judicial scrutiny and prompt dismissal of the case. See Exhibit 3.

   9                                JURISDICTION AND VENUE

  10               14.   This action arises under the Declaratory Judgment Act, 28 U.S.C. §

  11 2201, et seq., the United States Patent Act, 35 U.S.C. § 1, et seq., and the laws of the

  12 state of California. This Court has subject matter jurisdiction over this action

  13 pursuant to 28 U.S.C. §§ 2201, 2202, 1331, and 1338(a) because an actual case or

  14 controversy currently exists between the Parties regarding the subject matter of this

  15 action, and the Court would have subject matter jurisdiction over this action if dbest

  16 initiated suit for patent infringement.

  17               15.   The Court has subject matter jurisdiction over the state law claims

  18 asserted in this action pursuant to 28 U.S.C. § 1367(a) because they are so related to

  19 the declaratory judgment claims that they form part of the same case or controversy.

  20               16.   The Court has personal jurisdiction over dbest Products, Inc. based on


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   1 information and belief that dbest Products, Inc. is domiciled in California and within

   2 this judicial district.

   3               17.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2). A

   4 substantial part of the events giving rise to the claims occurred in this District,

   5 including the resulting lost sales and reputational harm. Xianghuo markets and sells

   6 products in this District and suffered injury here as a direct result of dbest’s conduct.

   7                                 FACTUAL BACKGROUND

   8 A.            The Non-Infringing Products

   9               18.   Xianghuo sells storage boxes on Amazon.com under the storefront

  10 “ XIANGHUO. ” The models of the storage boxes sold by Xianghuo at issue are

  11 1579-4Pack, 1579-3Pack, 35QT 1579, 1916, 1585, 9012, and 1585. These products

  12 are identified by ASINs, including but not limited to B0CHRP96MS,

  13 B0CC5YKT2T, B0CFQG78HJ, B0DRVSRTDV, B0CGZP8NMX, B0D6QRMDQ6,

  14 B0F2MMFQZL, and B0F6N56J3Z.

  15               19.   On or around July 1, 2025, Amazon notified Xianghuo that the

  16 removal of its Non-Infringing Products was not carried out under the APEX

  17 program, following Xianghuo ’ s repeated petitions for reinstatement of those

  18 products.

  19               20.   The Amazon marketplace constitutes Xianghuo’s sole sales channel

  20 into the United States. To remain competitive in the United States market for storage

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   1 boxes, Xianghuo needs those Non-Infringing Products listed in the Amazon

   2 marketplace.

   3               21.    As a direct result of dbest’s infringement complaint to Amazon,

   4 Xianghuo’s non-infringing products were removed from the marketplace,

   5 effectively cutting off its sole channel of trade. Dbest’s baseless complaint, based on

   6 invalid patents, has been causing Xianghuo immediate, irreparable, and substantial

   7 harm.

   8               22.    Upon information and belief, dbest did not obtain samples of

   9 Xianghuo’s Non-Infringing Products prior to filing its complaint with Amazon

  10 alleging Xianghuo’s infringement.

  11               23.   Xianghuo repeatedly asked dbest to identify the asserted claims on

  12 which its Amazon complaint was based. To date, dbest fails to disclose any such

  13 information, further evidencing its bad faith and egregious conduct in submitting the

  14 takedown request.

  15               24.   Under Amazon’s APEX program, a patent owner must first submit its

  16 initial utility patent-based infringement complaint through the APEX process. This

  17 is Amazon’s policy — or, at a minimum, its customary practice.

  18               25.   If a patent owner prevails in the APEX process, it may leverage that

  19 result to request removal of other products that are identical with respect to the

  20 asserted patent in the initial APEX determination. However, because Amazon

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   1 applies a low threshold for establishing infringement at that stage, the process often

   2 results in the wrongful takedown of non-infringing products — a vulnerability that

   3 can be exploited by bad-faith patent owners such as dbest.

   4               26.   This is not the first time dbest has filed a baseless complaint against

   5 Xianghuo. In 2024, dbest used a related patent from the same family to file an

   6 infringement complaint with Amazon, causing Xianghuo’s products to be taken

   7 down. After Xianghuo submitted a non-infringement appeal, Amazon reinstated the

   8 Non-infringing products.

   9               27.     Dbest’s behavior has resulted in multiple declaratory judgment

  10 lawsuits, where sellers were forced to go to court after dbest filed baseless and bad

  11 faith complaints with Amazon that led to unjustified takedowns. Notable examples

  12 include:

  13                  Taizhou Luqiao Shengqiang Housewares Factory v. Dbest Products

  14                     Inc., No. 2:24-cv-10842 (C.D. Cal.)

  15                  Shenzhen Yihong Technology Co. Ltd. v. Dbest Products Inc., No. 2:24-

  16                     cv-02043-KKE (W.D. Wash.)

  17                  ECR4Kids, L.P. v. Dbest Products, Inc., No. 2:24-cv-04523-MCS-AJR

  18                     (C.D. Cal.)

  19                  Sanders Collection Inc. v. Dbest Products, Inc., No. 1:24-cv-10045

  20                     (S.D.N.Y.)


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   1               28.   In each of the above declaratory judgment actions, dbest subsequently

   2 issued a covenant not to sue after the lawsuit was filed. These events demonstrate a

   3 pattern in dbest’s enforcement strategy.

   4               29.   These complaints target competing products that practice prior art and

   5 are made in bad faith, with reckless disregard for the facts. dbest intentionally

   6 avoids Amazon’s APEX program, resulting in takedowns without proper review.

   7               30.    Xianghuo is a top seller, and its revenue is more than sufficient to

   8 compensate any alleged losses suffered by dbest or Amazon, making the takedown

   9 of its listings unnecessary and disproportionate.

  10 B.            The Patents-In-Suit

  11 1.            The ’446 Patent

  12               31.    The ’446 Patent lists dbest products, Inc. as the applicant and

  13 assignee. See Exhibit 1, the ’446 Patent, at 1.

  14               32.    The ’446 Patent, titled “High load capacity collapsible carts,”

  15 describes its purported invention as “Compressible carts.”

  16               33.    Claims 1, 10, 16 and 22 are the only independent claims of the ’446

  17 Patent.

  18               34.    Claim 22 requires:
  19                       A collapsible cart configured to transition from a closed condition

  20                       where it is folded up to an open condition where it is expanded for

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   1                      use, the collapsible cart comprising:

   2                      a frame defining a compartment, wherein:

   3                      the frame comprises at least five walls, including a first wall, a

   4                      second wall, a third wall, a fourth wall, and a fifth wall;

   5                      at least three of the walls are configured to fold inwardly toward the

   6                      fifth wall when the cart is in the closed condition;

   7                      the third wall comprises a first panel and a second panel, the second

   8                      panel rotatably coupled to the first panel;

   9                      a first fastener configured to selectively secure the first panel and the

  10                      second panel in the open condition, the first fastener operable

  11                      between a first state for securing the first panel and the second panel

  12                      along a first plane in the open condition, and a second state for

  13                      releasing the first panel and the second panel from the first plane; and

  14                      wherein the first fastener is integrated with the first right panel and

  15                      the second right panel in both the closed condition and in the open

  16                      condition.

  17 See Exhibit 1 at 9:28-10:16.

  18 2.            The ’546 Patent

  19               35.    The ’546 Patent lists dbest products, Inc. as the applicant and

  20 assignee. See Exhibit 2, the ’546 Patent, at 1.

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   1               36.   The ’546 Patent, titled “Collapsible carts,” describes its purported

   2 invention as “a collapsible cart configured to transition from a closed condition

   3 where it may be folded up to an open condition where it may be expanded for use.”

   4               37.   Claims 1, 9 and 17 are the only independent claims of the ’546 Patent.

   5               38.   Claim 9 requires:

   6                     A collapsible cart configured to transition from a closed condition

   7                     where it is folded up to an open condition where it is expanded for

   8                     use, the collapsible cart comprising:

   9                     a frame defining a compartment, wherein:

  10                     the frame comprises at least five walls, including a first wall, a

  11                     second wall, a third wall, a fourth wall, and a fifth wall;

  12                     at least three of the walls are configured to fold inwardly toward the

  13                     fifth wall when the cart is in the closed condition;

  14                     the third wall comprises a first panel and a second panel, the second

  15                     panel rotatably coupled to the first panel;

  16                     a fastener configured to selectively secure the first panel and the

  17                     second panel in a substantially coplanar alignment, the fastener

  18                     comprising:

  19                     a first fastener member integrally disposed on an edge of the first

  20                     panel when the collapsible cart is in the closed condition and the


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   1                      open condition; and

   2                      a second fastener member integrally disposed on an edge of the

   3                      second panel when the collapsible cart is in the closed condition and

   4                      the open condition;

   5                      wherein the first fastener member and the second fastener member

   6                      are configured to mate with one another to hold the first panel and

   7                      the second panel in the substantially coplanar alignment; and wherein,

   8                      when the first fastener member and the second fastener member are

   9                      disengaged, the second panel is capable of rotating relative to the first

  10                      panel.

  11 See Exhibit 1 at 9:1-30.

  12 3.            Numerous Prior Art References Anticipate the Patents-in-Suit

  13               39.    Upon further information and belief, the Patents-in-Suit are not

  14 genuine inventions, but rather copycat filings that misappropriate existing

  15 technology in a field already saturated with prior art.

  16               40.    Numerous prior art references, including widely available commercial

  17 products sold on Amazon, render the Patents-in-Suit invalid as either anticipated

  18 under 35 U.S.C. § 102 or obvious under 35 U.S.C. § 103.

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                            ’446 and ’546 Patents – Figure 1 and Figure 9
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                   41.   For instance, the Olympia Tools Pack-N-Roll Portable Tool Carrier
  13
       sold under Amazon ASIN B000UZ0P7I was publicly available as early as October 1,
  14
       2001—more than eighteen years before the alleged priority date of the Patents-in-
  15

  16 Suit, which is January 6, 2020. See https://www.amazon.com/dp/B000UZ0P7I?th=1

  17 last visit on July 8, 2025. See also https://www.amazon.com/dp/B076D9XG7T, last

  18 visit on July 10, 2025.

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  10                     Olympia Tools Pack-N-Roll Portable Tool Carrier (Model

  11                     85-010)(ASIN B000UZ0P7I)

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  13               42.      The Foldable Utility Cart sold under Amazon ASIN B07YFFPK7B

  14 was publicly available as early as 2019, also preceding the alleged priority date of

  15 the             Patents-in-Suit,       which     is     January        6,         2020.          See

  16 https://www.amazon.com/dp/B07YFFPK7B, last visit on July 8, 2025.

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                   FELICON   SELORSS      Foldable     Utility   Cart,       Black       (ASIN
  12               B07YFFPK7B)
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  14
                    43.   Chinese Design Patent CN303947734S, published on November 30,
  15
       2016, discloses a design and structure anticipates the Patents-in-Suit. See Exhibit 4
  16
       and Exhibit 4-1, the corresponding Google-translated version.
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  12                CN303947734S - Stereoscopic image 1 and Change state diagram 1
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  14               44.   Chinese Design Patent CN304632396S, published on May 18, 2018,
  15 discloses a design and structure anticipates Patents-in-Suit. See Exhibit 5 and

  16 Exhibit 5-1, the corresponding Google-translated version.

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                         CN304632396S - Stereogram and Folded state reference diagram
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                   45.       Chinese Design Patent CN305015819S, published on January 29,
  11
       2019, discloses a design and structure anticipates the Patents-in-Suit. See Exhibit 6
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       and Exhibit 6-1, the corresponding Google-translated version.
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   9                     CN305015819S - Open State Diagram and Folding state diagram
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  12               46.    Dbest’s own product, the “Quik Cart Sport Collapsible Rolling Crate on
  13 Wheels for Teachers Tote Basket,” was on sale on Amazon no later than January 15,

  14 2018. See https://www.amazon.com/dp/B0CFDCLJ3G?th=1

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                                dbest Quik Cart (ASIN B0CFDCLJ3G)
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                   47.   Because this public disclosure occurred more than one year before the
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       alleged priority date of the Patents-in-Suit—January 6, 2020—it qualifies as prior
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       art that renders the Patents-in-Suit unpatentable under the on-sale and public use
  14
       bars of 35 U.S.C. § 102.
  15
                   48.    As an experienced participant in the industry, dbest closely monitors
  16
       market trends and competitor activity. Accordingly, dbest was aware of the
  17
       extensive prior art that existed before the alleged priority date of the Patents-in-Suit.
  18
       4.          Inequitable Conduct in the Prosecution of the ’546 Patent and Its Patent
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       Family
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                   49.    The ’546 Patent is a continuation of the U.S. Patent No. 12,103,576
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   1 (the “’576 Patent”). See Exhibit 7.

   2               50.   The ’446, ’546, and ’576 Patents trace their priority, through a chain of

   3 applications, to U.S. Patent Application No. 17/143,116, which issued as U.S. Patent

   4 No. 11,338,835 (the “’835 Patent”).

   5               51.   The ’835 Patent discloses only collapsible carts and includes a single

   6 locking mechanism based on a sliding structure. It does not disclose, either in the

   7 specification or drawings, any storage boxes with openable doors or any magnetic

   8 engagement features.

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                                  The ’835 Patents – Figure 1 and Figure 9
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                   52.    Dbest began improperly expanding the scope of its patent claims in
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   1 an apparent attempt to encompass storage boxes during the prosecution of U.S.

   2 Patent Application No. 18/542,495 (the “’495 application”), which issued as

   3 the ’576 Patent.

   4                   53.     On March 28, 2023, U.S. Provisional Application No. 63/577,068

   5 (the “Provisional Application”), from which the ’576 Patent claims priority, was

   6 filed. The Provisional Application was the first to include drawings of storage boxes

   7 but fails to provide sufficient disclosure to satisfy the written description and

   8 enablement requirements under applicable patent law.

   9                   54.     These drawings are substantially similar to certain Chinese HAIXIN

  10 products, which were first made publicly available on or before July 29, 2022. See

  11 Exhibit 8, U.S. Provisional Application No. 63/577,068, at 10–16 and HAIXIN

  12 Closet                     Organizers       and         Storage             (accessible               at

  13 https://www.amazon.com/dp/B0B4FZWRVR?psc=1, last visited Jan. 15, 2025).

  14                  Photograph of the      Photograph of HAIXIN            Figure 43 of the ’546
                   Provisional Application    Closet Organizers and          Patent and ’576 Patent
  15                                                 Storage
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   8               55.       On December 15, 2023,         the ’576 Patent         (Application No.

   9 18/542,495) was filed, introducing newly added matter concerning the storage boxes

  10 that is not adequately disclosed in any prior parent applications or patents.

  11                56.      All of the drawings related to the storage boxes—except Figure 44—

  12 are substantially similar to those disclosed in HAIXIN’s Chinese Patent No.

  13 CN214987334 (“the ’334 Patent”), which was published on December 3, 2021. For

  14 example, Figure 42A of the ’576 Patent is almost identical to Figure 5 of the ’334

  15 Patent.              See Exhibit 7, Fig. 42A and the ’334 patent ( available at

  16 https://patents.google.com/patent/CN214987334U/en?oq=CN214987334,                                 last

  17 visited Jan. 13, 2025).

  18               Figure 42A of the ’576 Patent              Figure 5 of the ’334 Patent

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   9                 57.    As can be seen in the above images, the storage box drawings in

  10 the ’576 Patent were highly likely misappropriated from HAIXIN’s ’334 Patent. The

  11 striking similarity in detail confirms that dbest intentionally and willfully

  12 reproduced these drawings.

  13                                              COUNT I

  14               Declaratory Judgment of Non-Infringement of U.S. Patent No. 12,275,446

  15                 58.   Xianghuo repeats and realleges each of the preceding paragraphs as if

  16 fully set forth herein and incorporate them by reference.

  17                 59.   Xianghuo has not infringed and does not infringe any valid and

  18 enforceable claim of the ’446 Patent either directly, contributorily, or by inducement,

  19 literally or under the doctrine of equivalents, including through the making, use,

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   1 importation into the United States, sale, and/or offer for sale of Xianghuo’s Non-

   2 Infringing Products.

   3               60.   The Non-Infringing Products do not infringe the currently asserted

   4 claim of the ’446 Patent at least because they do not include “a first fastener

   5 configured to selectively secure the first panel and the second panel in the open

   6 condition.”

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       COMPLAINT, AFFIRMATIVE DEFENSES,            35                 Palo Alto, CA 94306
       AND COUNTERCLAIMS                                                (650) 613-9737
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  15 Picture from dbest Quik Cart (ASIN                Picture of the Accused Product showing
     B0CFDCLJ3G) demonstrating that the                automatic magnetic engagement that
  16 user can selectively secure or unsecure           does not allow the user to make a
     the first panel and the second panel              “selection.”
  17

  18               61.   Additionally, the Non-Infringing Products are not “carts” as claimed in

  19 the ’446 patent. According to its plain and ordinary meaning, a “cart” refers to a

  20 small vehicle used to carry or transport items. The Non-Infringing Products, some of

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   1 which have no rolling components, are not used for transportation and serve solely

   2 as storage containers. No reasonable person would consider them to be a

   3 transportation tool.

   4                 62.     Certain Xianghuo storage boxes, such as ASIN B0CHRP96MS, are

   5 however configured to install rolling components for the limited purpose of

   6 facilitating the movement of storage bins indoors. However, these products cannot

   7 be considered “carts,” as they lack the structural features and functional

   8 characteristics necessary to qualify as carts.

   9                 63.   An actual and justiciable case or controversy therefore exists between

  10 Xianghuo and dbest regarding whether the Non-Infringing Products have infringed

  11 the claims of the ’446 Patent. Declaratory relief is thus appropriate and necessary to

  12 establish that the making, using, importation, sale, or offer for sale of the Non-

  13 Infringing Products does not infringe, directly or indirectly, literally or under the

  14 doctrine of equivalents, any valid and enforceable claim of the ’446 Patent.

  15 Xianghuo is entitled to a judgment declaring that they have not infringed and will

  16 not infringe any claim of the ’446 Patent.

  17                                              COUNT II

  18               Declaratory Judgment of Non-Infringement of U.S. Patent No. 12,304,546

  19                 64.   Xianghuo repeats and realleges each of the preceding paragraphs as if

  20 fully set forth herein and incorporate them by reference.

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   1               65.   Xianghuo has not infringed and does not infringe any valid and

   2 enforceable claim of the ’546 Patent either directly, contributorily, or by inducement,

   3 literally or under the doctrine of equivalents, including through the making, use,

   4 importation into the United States, sale, and/or offer for sale of Xianghuo’s Non-

   5 Infringing Products.

   6               66.   The Non-Infringing Products do not infringe the currently asserted

   7 claim of the ’546 Patent at least because they do not include “a fastener configured

   8 to selectively secure the first panel and the second panel in a substantially coplanar

   9 alignment.”

  10               67.   Additionally, the Non-Infringing Products are not “carts” as claimed in

  11 the ’546 patent. According to its plain and ordinary meaning, a “cart” refers to a

  12 small vehicle used to carry or transport items. The Non-Infringing Products, some of

  13 which have no rolling components, are not used for transportation and serve solely

  14 as stationary storage containers. No reasonable consumer would consider them to be

  15 a transportation tool.

  16               68.   An actual and justiciable case or controversy therefore exists between

  17 Xianghuo and dbest regarding whether the Non-Infringing Products have infringed

  18 the claims of the ’546 Patent. Declaratory relief is thus appropriate and necessary to

  19 establish that the making, using, importation, sale, or offer for sale of the Non-

  20 Infringing Products does not infringe, directly or indirectly, literally or under the

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   1 doctrine of equivalents, any valid and enforceable claim of the ’546 Patent.

   2 Xianghuo is entitled to a judgment declaring that they have not infringed and will

   3 not infringe any claim of the ’546 Patent.

   4                                             COUNT III

   5               DECLARATORY JUDGMENT OF INVALIDITY OF U.S. PATENT NO.

   6                                             12,275,446

   7                 69.   Xianghuo restates and incorporates by reference the allegations in

   8 Paragraphs 1 through 44 of this Complaint.

   9                 70.   Dbest misappropriated designs from prior art and obtained patents on

  10 subject matter that had long been publicly available, then used those patents to file

  11 baseless infringement complaints against Xianghuo on Amazon. This conduct

  12 reflects bad faith and constitutes an egregious abuse of Amazon’s patent complaint

  13 system.

  14                 71. An actual case or controversy exists between Xianghuo and dbest as to

  15 whether U.S. Patent No. 12,275,446 (the “’446 Patent”) is valid.

  16                 72.   A judicial declaration is necessary and appropriate so that Xianghuo

  17 may ascertain its rights with respect to the ’446 Patent.

  18                 73.   The ’446 Patent is invalid for failure to meet the conditions of

  19 patentability and/or otherwise comply with one or more provisions of 35 U.S.C. §§

  20 100 et seq., including but not limited to 35 U.S.C. §§ 102 and 103.

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   1                                             COUNT IV

   2               DECLARATORY JUDGMENT OF INVALIDITY OF U.S. PATENT NO.

   3                                              12,304,546

   4                 74.   Xianghuo restates and incorporates by reference the allegations in

   5 Paragraphs 1 through 48 of this Complaint.

   6                 75.   An actual case or controversy exists between Xianghuo and dbest as to

   7 whether U.S. Patent No. 12,304,546 (the “’546 Patent”) is valid.

   8                 76.   A judicial declaration is necessary and appropriate so that Xianghuo

   9 may ascertain its rights with respect to the ’546 Patent.

  10                 77.   The ’546 Patent is invalid for failure to meet the conditions of

  11 patentability and/or otherwise comply with one or more provisions of 35 U.S.C. §§

  12 100 et seq., including but not limited to 35 U.S.C. §§ 102 and 103.

  13                                              COUNT V

  14                DECLARATORY JUDGMENT OF UNENFORCEABILITY OF U.S.

  15                                      PATENT NO. 12,304,546

  16                 78.    Xianghuo repeats and realleges each of the preceding paragraphs as if

  17 they are restated here and incorporate them by reference.

  18                 79.    Dbest knew that the HAIXIN’s ’334 Patent was a material prior art

  19 and made a deliberate decision to withhold it from the USPTO.

  20                 80.    HAIXIN’s ’334 Patent is but-for material because the USPTO would


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   1 not have allowed at least Claim 11 of the ’576 Patent had it been aware of this

   2 undisclosed reference.

   3               81.    Dbest acted with specific intent to deceive the USPTO during

   4 prosecution of the ’576 Patent, which therefore constitutes inequitable conduct.

   5               82.    The ’546 Patent is a continuation of the ’576 Patent.

   6                                           COUNT VI

   7                State Law Unfair Competition – Cal. Bus. & Prof. Code § 17200

   8               83.   Xianghuo repeats and realleges each of the preceding paragraphs as if

   9 they were restated here and incorporate them by reference.

  10               84.   Dbest’s acts, as set forth above, constitute unlawful, unfair, and/or

  11 fraudulent business practices as defined under California Business and Professions

  12 Code § 17200, et seq.

  13               85.   Dbest has acted unlawfully and unfairly by submitting baseless

  14 complaints to Amazon that resulted in the wrongful removal of Xianghuo’s Non-

  15 Infringing Products from Amazon.com.

  16               86.   By abusing Amazon’s intellectual property enforcement procedures,

  17 dbest caused significant disruption to Xianghuo’s business operations, including the

  18 removal of the Non-Infringing Products that do not infringe any valid intellectual

  19 property rights.

  20               87.   As a direct and proximate result of dbest’s unfair competition,


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   1 Xianghuo has been, and continues to be, materially harmed in an amount to be

   2 proven at trial.

   3                                          COUNT VII

   4                                      Tortious Interference

   5               88.    Xianghuo repeats and realleges each of the preceding paragraphs as if

   6 they were restated here and incorporate them by reference.

   7               89.    Xianghuo entered into the Amazon Services Business Solutions

   8 Agreement, along with other agreements with Amazon, and conduct business

   9 through storefronts on Amazon.com.

  10               90.    Accordingly, Xianghuo enjoyed economic relationships with Amazon

  11 and its existing customers, with a probability of future economic benefit had the

  12 Non-Infringing Products not been removed from the Amazon marketplace.

  13               91.    Dbest knowingly and intentionally interfered with Xianghuo’s valid

  14 and existing business relationships and expectancy of sales of its products, including

  15 the Non-Infringing Products, via Amazon.com for an improper purpose and by

  16 improper means, causing Amazon to remove the ASINs for the Non-Infringing

  17 Products.

  18               92.   As a direct and proximate result of dbest’s tortious interference,

  19 Xianghuo has suffered damages, including significant losses in sales of the Non-

  20 Infringing Products and other products, resulting in lost revenue and profits directly

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   1 attributable to those lost sales.

   2               93.   Dbest’s actions have significantly harmed Xianghuo’s business

   3 operations by substantially reducing product rankings on Amazon, which directly

   4 impacts Xianghuo’s product reviews, ratings, and Amazon rankings, thereby

   5 resulting in lower product visibility in consumer searches and diminishing market

   6 presence.

   7               94.   The reduced rankings and visibility have caused substantial losses in

   8 sales and profits. Additionally, they have led to increased warehousing and

   9 inventory holding costs due to reduced product turnover. These damages extend

  10 beyond lost revenue, causing harm to Xianghuo’s goodwill and brand reputation,

  11 which are essential for maintaining competitive standing in the market. The exact

  12 amount of these damages will be proven at trial.

  13                                    PRAYER FOR RELIEF

  14                WHEREFORE, Xianghuo prays for the following relief:

  15                A.   A judgment declaring that the manufacture, use, offer for sale, sale,

  16 and/or importation of Xianghuo’s Non-Infringing Products have not infringed and

  17 will not infringe, directly or indirectly, literally or under the doctrine of equivalents,

  18 any valid claim of the ’446 or ’546 Patents;

  19                B.   A judgment declaring that U.S. Patent Nos. 12,275,446 and 12,304,546

  20 are invalid;

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   1               C.   A judgment declaring that U.S. Patent Nos. 12,275,446 and 12,304,546

   2 are unenforceable;

   3               D.   A permanent injunction enjoining dbest from asserting the ’ 446

   4 and ’546 Patents against Xianghuo’s Non-Infringing Products;

   5               E.   Entry of judgment finding dbest liable for tortious interference with

   6 Xianghuo’s business relationships;

   7               F.   Entry of judgment finding dbest liable for unfair competition under

   8 California Business and Professions Code § 17200, et seq.;

   9               G.   An award of compensatory damages sufficient to make Xianghuo

  10 whole for the harm caused by dbest’s conduct;

  11               H.   An award of punitive damages in an amount to be determined at trial;

  12               I.   An award of reasonable attorneys’ fees, to the extent authorized by law;

  13               J.   An award of Xianghuo’s costs in this action;

  14               K.   All such other and further relief as the Court may deem just and proper.

  15

  16                                 DEMAND FOR JURY TRIAL

  17               Pursuant to Federal Rules of Civil Procedure 38(b), Xianghuo demands a

  18 trial by jury on all claims and issues so triable.

  19

  20 DATED: July 10, 2025                      Respectfully submitted,


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   2
                                         CERTIFICATE OF SERVICE
   3
                   The undersigned hereby certifies that all counsel of record who are deemed to have
   4
       consented to electronic service are being served with a copy of this document via the Court’s
   5
       CM/ECF system on July 10, 2025
   6
                                                                                /s/ Yi Yi
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                                                                                   Yi Yi
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